               ADDENDUM TO SPLC’S REPLY BRIEF IN SUPPORT OF ITS MOTION TO DISMISS
         McInnes argues that several of the statements he challenges are “provably false statements of what purport to be plain facts published

with actual malice by SPLC” and goes on to list twenty-two bullet-pointed statements, each citing a particular paragraph or paragraphs in

the Complaint. Opp. at 34-38. As it did in its Motion to Dismiss Addendum (Doc. 17-1), SPLC provides the chart below to address why

each of the purportedly “false statements” laid out in the Opposition fails to provide the basis for a claim upon which relief can be granted.

For the Court’s ease of reference, the chart below organizes these statements into three categories:

        Category 1 Statements include those statements that are fully addressed in the Motion to Dismiss Addendum.

        Category 2 Statements include those statements where the underlying Complaint paragraphs cited by McInnes in his Opposition
         are fully addressed in the Motion to Dismiss Addendum, but where the Opposition mischaracterizes the allegations actually
         contained in those paragraphs.

        Category 3 Statements include those statements where the underlying allegations were not addressed in the Motion to Dismiss
         Addendum because they are not contained in the Complaint, but which (for a variety of reasons) nevertheless fail to state a claim.

Notably, the majority of the purportedly “false statements” listed in the Opposition fall into Category 1. Despite the fact that the Motion

to Dismiss Addendum provided a detailed explanation why each of these Category 1 statements should be dismissed, the Opposition chose

not to engage at all with those legal arguments. Rather than re-state them here, the chart below simply refers back to the Motion to Dismiss

Addendum.1




1
  In addition, to avoid unnecessary repetition, the fact that McInnes has not pled actual malice with the requisite plausibility as to any of these statements is not included
in this chart. This deficiency, however, applies to and provides an independent ground for dismissal of each of the twenty-two statements. Reply at 23.
                                                                                                                                                                            1
                              Category 1 Statements (fully addressed in Motion to Dismiss Addendum)

             PURPORTEDLY FALSE STATEMENT                  COMPLAINT PARAGRAPH(S)        PREVIOUSLY ADDRESSED       FURTHER EXPLANATION (IF
                                                               REFERENCED                                                NECESSARY)

1   “[T]hat Mr. McInnes supported the infamous          ¶¶ 240-44; 285-87               Addendum to SPLC           N/A
    ‘Charlottesville Rally.’”                                                           Mot. (Doc. 17-1) at 4-5,
                                                                                        21-22
2   “[T]hat Mr. McInnes is an anti-semite”              ¶¶ 245-50                       Addendum to SPLC           N/A
                                                                                        Mot. (Doc. 17-1) at 6-7

3   “[T]hat Mr. McInnes devised a recruiting ground for ¶¶ 245-50                       Addendum to SPLC           N/A
    white supremacists and anti-Semites within the Far                                  Mot. (Doc. 17-1) at 6-7
    Right”
4   “[T]hat Mr. McInnes was a speaker at an ‘anti-      ¶ 281                           Addendum to SPLC           N/A
    Muslim’ event in 2017”                                                              Mot. (Doc. 17-1) at 20

5   “[T]hat Mr. McInnes and the Proud Boys seek the     ¶¶ 234, 238, 251-54, 282, 289   Addendum to SPLC           N/A
    opportunity to engage in street violence against                                    Mot. (Doc. 17-1) at 2-3,
    people they disagree with.”                                                         8-9, 20-22
6   “[T]hat Mr. McInnes is an ‘Islamophobe’ or hates    ¶¶ 234, 239, 251, 259           Addendum to SPLC           N/A
    Muslims.”                                                                           Mot. (Doc. 17-1) at 2-3,
                                                                                        8, 11
7   “[T]hat Mr. McInnes denigrated Muslims and called   ¶ 256                           Addendum to SPLC           N/A
    Asian Americans by calling them ‘slopes’ and                                        Mot. (Doc. 17-1) at 10
    ‘riceballs’.”
8   “[T]hat Mr. McInnes is a member or leader of the    ¶¶ 257-62, 282-88               Addendum to SPLC           N/A
    ‘Alt Right’ or ‘Radical Right.’”                                                    Mot. (Doc. 17-1) at 11-
                                                                                        12, 21-23
9   “[T]hat Mr. McInnes is an extremist who             ¶¶ 282, 291                     Addendum to SPLC           N/A
    utilizes subterfuge and lies.”                                                      Mot. (Doc. 17-1) at 23

10 “[T]hat Mr. McInnes commits, tolerates or            ¶¶ 263, 267                     Addendum to SPLC           N/A
   promotes violence by encouraging the Proud                                           Mot. (Doc. 17-1) at 13-
                                                                                        14
                                                                                                                                             2
                                Category 1 Statements (fully addressed in Motion to Dismiss Addendum)

              PURPORTEDLY FALSE STATEMENT               COMPLAINT PARAGRAPH(S)      PREVIOUSLY ADDRESSED        FURTHER EXPLANATION (IF
                                                             REFERENCED                                               NECESSARY)

    Boys to take out their aggression on political
    opponents.”
11 “[T]hat Mr. McInnes ever carried a weapon in       ¶¶ 279-80                     Addendum to SPLC           N/A
   New York City.”                                                                  Mot. (Doc. 17-1) at 19


              Category 2 Statements (mischaracterizing allegations fully addressed in Motion to Dismiss Addendum)

        PURPORTEDLY FALSE            COMPLAINT PARAGRAPH(S)         PREVIOUSLY ADDRESSED                FURTHER EXPLANATION
           STATEMENT                      REFERENCED
1   “[T]hat Mr. McInnes           ¶¶ 285-87                       Addendum to SPLC Mot.     These paragraphs do not support the
    supported the infamous                                        (Doc. 17-1) at 21-22      “statement” for which McInnes now cites
    ‘Charlottesville Rally.’”                                                               them, i.e. that he “supported” the
                                                                                            Charlottesville rally. Instead, they address
                                                                                            only whether members of the Proud Boys
                                                                                            participated in the rally (¶¶ 285-86), as well as
                                                                                            other statements about the Proud Boys
                                                                                            unrelated to the rally (¶ 287). The actual
                                                                                            statements alleged in these paragraphs are
                                                                                            addressed in the Motion to Dismiss
                                                                                            Addendum.
12 “[T]hat Mr. McInnes, as        ¶¶ 270-73                       Addendum to SPLC Mot.     These paragraphs do not support the
   leader of the Proud Boys,                                      (Doc. 17-1) at 15-16      “statements” for which McInnes now cites
   threatened violence at a                                                                 them, i.e. that he “as leader of the Proud Boys
   rally in the Pacific                                                                     threatened violence” at the rally in question.
   Northwest.”                                                                              Instead, they relate only to McInnes’s
                                                                                            contention that he disavowed the rally and that
                                                                                            therefore SPLC’s reporting was defamatory.
                                                                                            The actual statements alleged in these
                                                                                            paragraphs are addressed in the Motion to
                                                                                            Dismiss Addendum.
                                                                                                                                                3
             Category 2 Statements (mischaracterizing allegations fully addressed in Motion to Dismiss Addendum)

        PURPORTEDLY FALSE           COMPLAINT PARAGRAPH(S)         PREVIOUSLY ADDRESSED                    FURTHER EXPLANATION
           STATEMENT                     REFERENCED
13 “[T]hat the Proud Boys,        ¶¶ 274-78                     Addendum to SPLC Mot.           These paragraphs do not support the
   under Mr. McInnes’s                                          (Doc. 17-1) at 17-19            “statement” for which McInnes now cites
   guidance or encouragement,                                                                   them, i.e. that under McInnes’ “guidance and
   were the aggressors in the                                                                   encouragement” the Proud Boys “were the
   altercation that took place in                                                               aggressors” in the altercation. Instead, they
   New York City on October                                                                     address only specific aspects of SPLC’s
   13, 2018.”                                                                                   reporting on the incident, including the
                                                                                                description of the Proud Boys as a “far right”
                                                                                                group (¶ 275), the number of people involved
                                                                                                in the incident (¶ 277), and the words spoken
                                                                                                during the incident (¶ 278). The actual
                                                                                                statements alleged in these paragraphs are
                                                                                                addressed in the Motion to Dismiss
                                                                                                Addendum.


                                Category 3 Statements (not addressed in Motion to Dismiss Addendum)
     PURPORTEDLY FALSE        COMPLAINT       FAILURE TO STATE A CLAIM                          FURTHER EXPLANATION
        STATEMENT            PARAGRAPH(S)
                              REFERENCED
14   “[T]hat Mr. McInnes    ¶ 151             Not reasonably capable of   In ¶¶ 150-151, the Complaint itself cites SPLC’s June 10, 2017,
     is associated with                       conveying the alleged       “Live Blog: ACT for Americas ‘March Against Sharia’ Rallies”
     ‘Vanguard America,’                      defamatory meaning. (See    article, see Holliday Decl. Ex. 21, which accurately reports that
     a ‘white nationalist                     SPLC Mot. § I.E.4.)         McInnes spoke at one of the referenced anti-Sharia rallies. Id.
     group.’”                                                             Ex. 21 at 26.
                                                                          The article merely mentions Vanguard America in one paragraph as
                                                                          being in attendance at the New York rally and McInnes in the next
                                                                          as having spoken at the rally without in any way connecting the two
                                                                          or suggesting an association between them:


                                                                                                                                                 4
                                      Category 3 Statements (not addressed in Motion to Dismiss Addendum)
         PURPORTEDLY FALSE          COMPLAINT         FAILURE TO STATE A CLAIM                                FURTHER EXPLANATION
            STATEMENT              PARAGRAPH(S)
                                    REFERENCED
                                                                                      “Vanguard America, another white nationalist group that conducts
                                                                                      flyer campaigns on college campuses, was also in attendance at the
                                                                                      New York rally. According to the Washington Post, Vanguard
                                                                                      spokesman Francisco Rivera stated, ‘I don’t believe in having
                                                                                      Muslims in the United States. Their culture is incompatible with
                                                                                      ours.’
                                                                                      “Gavin McInnes, a right-wing commentator and founder of the
                                                                                      Proud Boys spoke at the New York ‘March Against Sharia.’ One of
                                                                                      the pillars of the March was the line ‘we stand against the
                                                                                      oppression of women.’ However, McInnes a ‘neo-masculine
                                                                                      reactionary,’ has made a number of blatantly misogynistic
                                                                                      comments…” Holliday Decl. Ex. 21.

    15   “[T]hat the Proud        ¶¶ 154-55           Not reasonably capable of       The article at issue uses the word threat as follows: “This weekend,
         Boys, and by                                 conveying the alleged           the threat of violence looms again.” What you need to know about
         extension Mr.                                defamatory meaning. (See        the upcoming far-right rallies in the Pacific Northwest, SPLC, Aug.
         McInnes, threatened                          SPLC Mot. § I.E.4.)             1, 2018 at 1-2. The phrase comes after a description of a previous
         violence at a rally.”2                                                       rally involving the same groups (Proud Boys and Patriot Prayer)
                                                      Non-actionable opinion.         which police declared to be a riot. Id. at 1. The article never
                                                      (See SPLC Mot. § I.E.1.)        alleges that the Proud Boys actually threatened violence much less
                                                                                      that McInnes did but rather that the general circumstances made
                                                                                      violence a possibility including talk on “far-right web forums”
                                                                                      “about guns and other weapons.” Id. at 2.




2
 These paragraphs reference the article What you need to know about the upcoming far-right rallies in the Pacific Northwest, SPLC, Aug. 1, 2018. See Holliday
Reply Decl. Ex. 1.

                                                                                                                                                                5
                                      Category 3 Statements (not addressed in Motion to Dismiss Addendum)
         PURPORTEDLY FALSE           COMPLAINT        FAILURE TO STATE A CLAIM                                FURTHER EXPLANATION
            STATEMENT               PARAGRAPH(S)
                                     REFERENCED
    16   “[T]hat Mr. McInnes       ¶¶ 159-60           Non-actionable opinion.        This is a classic example of disclosed facts providing the basis for
         is anti-gay”3                                 (See SPLC Mot. § I.E.1.)       the challenged opinion. The article provides multiple examples of
                                                                                      McInnes using the word “faggot” or derivations thereof for at least
                                                       Substantially true (See        the last 15 years. It discloses McInnes’s position that his use of the
                                                       SPLC Mot. § I.E.2)             word is not anti-gay, but the article—based on the undisputed facts
                                                                                      disclosed therein (McInnes’s use of the word in his own writing)—
                                                                                      arrives at a different opinion—that McInnes has used the word to
                                                                                      “outright describe[] gay men” and that “McInnes has routinely used
                                                                                      the word as a synonym for weak or unmasculine. It’s a term of
                                                                                      contempt.” See Holliday Reply Decl., Ex. 2 at 2.

                                                                                      Additionally, McInnes does not dispute the fact that he has used the
                                                                                      word “faggot” for at least 15 years, rendering the article’s actual
                                                                                      statement substantially true.
    17   “The false suggestion,    ¶¶ 126-141          Falsity and defamatory         The alleged falsity ascribed to the website copy in the Opposition is
         via juxtaposition of                          content described in the       different from that alleged in the Complaint. The Complaint alleges
         Mr. McInnes’s                                 Opposition is not alleged      that the juxtaposition suggested that McInnes had taken part in
         photograph with                               in the Complaint.              violence, specifically a violent confrontation with the police.
         website copy, that he                                                        However, as explained below, the juxtaposition of the photograph
         is involved in                                Non-actionable opinion.        with the text in question does not suggest that McInnes was
         threatening, harassing,                       (See SPLC Mot. § I.E.1.)       involved in a violent confrontation, which is the basis for his
         intimidating,                                                                Complaint’s defamation claim. Thus, McInnes has failed to allege
         defaming or violently                                                        the defamation that he now asserts in his Opposition.
         attacking people
         different from                                                               In McInnes’s Complaint, he contends that the photograph
         himself.”                                                                    “suggest[s] he was part of a hate group involved in a violent
                                                                                      confrontation with police.” Compl. ¶ 130. The photograph,
                                                                                      however, is (as McInnes points out) utterly distinguishable from the
                                                                                      photographs above and below him which do depict violent
                                                                                      confrontations. Compl. ¶¶ 127, 138.


3
  These paragraphs reference the article by Nick Martin, Proud Boys founder Gavin McInnes has been using the same anti-gay slur hurled in the NYC attack for at
least 15 years, SPLC, Oct. 19, 2018. See Holliday Reply Decl. Ex. 2.
                                                                                                                                                                  6
                                    Category 3 Statements (not addressed in Motion to Dismiss Addendum)
     PURPORTEDLY FALSE             COMPLAINT     FAILURE TO STATE A CLAIM                          FURTHER EXPLANATION
        STATEMENT                 PARAGRAPH(S)
                                   REFERENCED

                                                                             There is nothing about the photograph of McInnes that suggests
                                                                             violence. Every person in the photograph is both calm and peaceful
                                                                             and there are no police pictured. The text next to the photograph
                                                                             does not suggest that it depicts violence either—it reads “Just as the
                                                                             internet has created immense positive value by connecting people
                                                                             and creating new communities, it has also given new tools to those
                                                                             who want to threaten, harass, intimidate, defame, or even violently
                                                                             attack people different from themselves.” Compl. ¶ 126 (image).

                                                                             Even had the Complaint alleged that the juxtaposition at issue
                                                                             created the false suggestions described in the Opposition, those
                                                                             suggestions would plainly constitute non-actionable expressions of
                                                                             opinion. See generally Reply at 15-19.
18   “The false suggestion,      ¶ 129           Falsity and defamatory      Same as Claim 17, above.
     via juxtaposition of                        content described in the
     Mr. McInnes’s                               Opposition is not alleged
     photograph with                             in the Complaint.
     website copy, that he
     is involved in hateful                      Non-actionable opinion.
     activities that incite or                   (See SPLC Mot. § I.E.1.)
     engage in violence,
     intimidation,
     harassment, threats, or
     defamation targeting
     an individual or group
     based on their actual
     or perceived race,
     color, religion,
     national origin,
     ethnicity,
     immigration status,
     gender, gender

                                                                                                                                                      7
                                Category 3 Statements (not addressed in Motion to Dismiss Addendum)
     PURPORTEDLY FALSE         COMPLAINT     FAILURE TO STATE A CLAIM                          FURTHER EXPLANATION
        STATEMENT             PARAGRAPH(S)
                               REFERENCED
     identity, sexual
     orientation, or
     disability.”
19   “The false suggestion   ¶ 197           Falsity and defamatory      Paragraph 197 of the Complaint does not allege that this screenshot
     that Mr. McInnes was                    content described in the    suggests McInnes was involved in a New York City attack against
     involved in a New                       Opposition is not alleged   gays. It states only that this and other screenshots are presented
     York City attack                        in the Complaint.           “typically with inflammatory, misleading or defamatory text
     against gays”                                                       superimposed on [them].” See Reply at 24.
                                             Not reasonably capable of
                                             conveying the alleged       Moreover, the screenshot referenced in the Opposition is linked to
                                             defamatory meaning. (See    an article entitled Proud Boys founder Gavin McInnes has been
                                             SPLC Mot. § I.E.4.)         using the same anti-gay slur hurled in the NYC attack for at least 15
                                                                         years. See Holliday Reply Decl., Ex. 2. Neither the article nor the
                                             Substantially true. (See    headline assert or suggest that McInnes was involved in a New
                                             SPLC Mot. § I.E.2.)         York City attack against gays.

                                                                         Finally, McInnes does not dispute the fact that he has used the word
                                                                         “faggot” for at least 15 years, rendering the article’s actual
                                                                         statement substantially true.




                                                                                                                                                 8
                                 Category 3 Statements (not addressed in Motion to Dismiss Addendum)
     PURPORTEDLY FALSE          COMPLAINT     FAILURE TO STATE A CLAIM                          FURTHER EXPLANATION
        STATEMENT              PARAGRAPH(S)
                                REFERENCED
20   “That Mr. McInnes        ¶ 197           Falsity and defamatory      The Opposition identifies three screenshots of SPLC articles, each
     commits, tolerates, or                   content described in the    of which McInnes contends demonstrate SPLC’s “false claim” that
     promotes violence and                    Opposition is not alleged   he “commits, tolerates, or promotes violence.” However, the
     ‘hate’.”                                 in the Complaint.           Complaint does not contain such allegations. With respect to these
                                                                          screenshots, the Complaint states only that SPLC presents images of
21   “That Mr. McInnes        ¶ 197           Not reasonably capable of   McInnes “typically with inflammatory, misleading or defamatory
     commits, tolerates, or                   conveying the alleged       text superimposed on [them].” Compl. ¶ 197.
     promotes violence.”                      defamatory meaning. (See
                                              SPLC Mot. § I.E.4.)         In addition, whether McInnes “commits, tolerates, or promotes
22   “That Mr. McInnes        ¶ 197                                       violence” is self-evidently a non-actionable expression of opinion
     commits, tolerates, or                   Non-actionable opinion.     based on the facts disclosed in the articles themselves and
     promotes violence.”                      (See SPLC Mot. § I.E.1.)    information contained in the links contained in those articles. See
                                                                          generally SPLC Mot. at 41-46; Reply at 15-19.

22   “That Mr. McInnes . .    ¶ 197           Substantially true. (See    The statement is substantially true because McInnes acknowledges
     . committed copyright                    SPLC Mot. § I.E.2)          in his Complaint that he was banned from YouTube for copyright
     infringement.”                                                       infringement. Thus, the statement posted on December 11, 2018—
                                                                          that “YouTube Bans Gavin McInnes for . . . ‘Copyright
                                                                          Infringement’”—is true. See Compl. ¶ 168 (“On December 10,
                                                                          2018, Mr. McInnes was banned from YouTube on spurious grounds
                                                                          of copyright infringement concerning certain videos on his
                                                                          YouTube channel.”).




                                                                                                                                                9
